                               UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF LOUISIANA

     ALEX A., by and through his guardian,
     Molly Smith; BRIAN B.; and CHARLES
     C., by and through his guardian Kenione
     Rogers, individually and on behalf of all
     others similarly situated,

                    Plaintiffs,

    DANIEL D. by and through his guardian,
    Angela Williams, EDWARD E., by and                     Civil Action No. 3:22-cv-573-SDD-RLB
    through his guardian Jernita Williams, and
    FRANK F., by and through his guardian,
    Taquita Morgan,

    Proposed Plaintiffs,

     v.

     GOVERNOR JOHN BEL EDWARDS, in
     his official capacity as Governor of
     Louisiana; WILLIAM SOMMERS,1 in his
     official capacity as Deputy Secretary of the
     Office of Juvenile Justice, JAMES M.
     LEBLANC, in his official capacity as
     Secretary of the Louisiana Department of
     Public Safety & Corrections,

                    Defendants.

                                        SUGGESTION OF DEATH

          The undersigned, counsel of record for plaintiffs and a proposed class of similarly situated

individuals, suggest upon the record, pursuant to Rule 25(a)(2) of the Federal Rules of Civil

Procedure, the death of the named plaintiff Brian B., on April 20, 2023.



1
 On November 18, 2022, Gov. Edwards announced the resignation of Dep. Sec. Sommers and the appointment of
Otha “Curtis” Nelson as his replacement. https://gov.louisiana.gov/index.cfm/newsroom/detail/3892 Because
Sommers was sued in his official capacity, Nelson is automatically substituted as a Defendant. Fed. R. Civ. P. 25(d).
Plaintiff leaves Sommers as a Defendant until the clerk is ordered to change the caption, and also replace him as a
party with Nelson in the proposed Second Amended Class Action Complaint, filed simultaneously with this motion.
       Because this suit is solely for prospective injunctive and declaratory relief on behalf of a

proposed class, Rule 25(a)(2) applies. That subsection provides that, following a party’s death, if

the right sought to be enforced survives to the remaining parties, “the action does not abate, but

proceeds in favor of . . . the remaining parties,” and requires the death be noted on the record.

       Respectfully submitted, this 14th day of July, 2023.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 14th day of July, 2023, a copy of the foregoing was served upon

all counsel of record by electronic transmission.

                                        /s/ David J. Utter
                                        DAVID J. UTTER
